         Case 1:10-bk-11413                  Doc 15     Filed 04/12/10 Entered 04/12/10 16:44:05                       Desc Main
                                                        Document     Page 1 of 1
B 1A (Official Form 1, Exhibit A) (9/97)
[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit “A” shall be completed and attached to the petition.]

                                    UNITED STATES BANKRUPTCY COURT
                                                    __________ District of __________

In re     Nappa Realty, LLC                                            ,             )      Case No. 10-11413
                                           Debtor                                    )
                                                                                     )
                                                                                     )      Chapter 11


                                            EXHIBIT “A” TO VOLUNTARY PETITION
      1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the
SEC file number is N/A                                   .

         2. The following financial data is the latest available information and refers to the debtor’s condition on
                                .

         a. Total assets                                                             $              580,000.00
         b. Total debts (including debts listed in 2.c., below)                      $              544,273.39

         c. Debt securities held by more than 500 holders:                                                Approximate
                                                                                                           number of
                                                                                                            holders:

         secured      ✔
                      ’       unsecured ’           subordinated ’         $             540,000
         secured      ’                 ✔
                              unsecured ’           subordinated ’         $                4,273
         secured      ’       unsecured ’           subordinated ’         $
         secured      ’       unsecured ’           subordinated ’         $
         secured      ’       unsecured ’           subordinated ’         $

         d. Number of shares of preferred stock
         e. Number of shares common stock
           Comments, if any:
        N/A




         3. Brief description of debtor’s business:
        Single Asset Real Estate



         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or
more of the voting securities of debtor:
     Sole Member is Steven M. Nappa



           Reset                                                                             Save As...                    Print
